                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          SOUTHERN DIVISION
                      Civil Action No. 7:23-cv-00292-M

TYRANCE DREQUAN BENBOW,                              )
BECKY LEE LaSALLE, individually, [and] as            )
heir to TYRANCE DREQUAN BENBOW                       )
and as representative of the Estate of               )
Tyrance Drequan Benbow, deceased,                    )
                                                     )   PARTIAL MOTION
                     Plaintiffs,                     )   TO DISMISS AMENDED
v.                                                   )   COMPLAINT BY
                                                     )   DEFENDANTS SHERIFF
SHERIFF JOHN W. INGRAM V, jointly and                )   JOHN W. INGRAM,
severally liable in his individual and official      )   JOSH DAVIES,
capacity as the Sheriff of the Brunswick County      )   KEITH E. BOWLING,
North Carolina, Sheriff’s Office; JOSH DAVIES,       )   ALEXANDER MELVIN,
jointly and severally liable in his individual and   )   and JOHNNIE BENTON
official capacity as Sergeant of the BCSO Drug       )
Enforcement Unit; KEITH E. BOWLING, jointly )
and severally liable in his individual capacity as a )
Deputy Sheriff for the Brunswick County Sheriff’s )
Office; ALEXANDER MELVIN, jointly and                )
severally liable in his individual capacity as a     )
Deputy Sheriff for the Brunswick County Sheriff’s )
Office; JOHNNIE BENTON, jointly and severally )
Liable in his individual capacity as a Deputy        )
Sheriff for the Brunswick County Sheriff’s Office, )
and MARK HEWETT, jointly and severally liable )
in his individual and official capacity as the       )
Fire Chief for Civietown Volunteer Fire and Rescue )
Department, and JOHN DOES I-X, inclusive,            )
                                                     )
                     Defendants.                     )
                                                     )




      NOW COME defendants John W. Ingram, Josh Davies, Keith E. Bowling,

Alexander Melvin, and Johnnie Benton, by and through counsel, and, pursuant to

Rule 12(b)(6) of the Federal Rules of Civil Procedure, move to dismiss the following



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claims for failure to state a claim: Counts IV, V, and VIII in the plaintiff’s Complaint

and all official-capacity claims against defendant Davies. The reasons for this motion

are set out in the moving defendants’ Memorandum of Law, which is filed

contemporaneously with this motion.

      Respectfully submitted, this 20th day of November, 2023.

                                               /s/ Christopher J. Geis
                                               CHRISTOPHER J. GEIS
                                               N.C. State Bar No. 25523
                                               BRADLEY O. WOOD
                                               N.C. State Bar. No. 22392
                                               WOMBLE BOND DICKINSON (US) LLP
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                                               Attorneys for Defendants Ingram,
                                               Davies, Bowling, Melvin, and Benton




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                           CERTIFICATE OF SERVICE

        The undersigned hereby certifies that he is an attorney at law licensed to
practice in the State of North Carolina, is attorney for defendants Ingram, Davies,
Bowling, Melvin, and Benton in this matter, and is a person of such age and discretion
as to be competent to serve process.

      I hereby certify that on November 20, 2023, I electronically filed the foregoing
PARTIAL      MOTION         TO    DISMISS     AMENDED COMPLAINT                    BY
DEFENDANTS JOHN W. INGRAM, JOSH DAVIES, KEITH E. BOWLING,
ALEXANDER MELVIN, AND JOHNNIE BENTON with the Clerk of Court using
the CM/ECF system which will also send an email notification to the following:

      ADDRESS:

      Ira Braswell IV
      Braswell Law, PLLC
      102 W. Nash Street, Suite E
      P.O. Box d703
      Louisburg, NC 27549
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      Attorney for Plaintiff


                                              /s/ Christopher J. Geis
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